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                       UNITED STATES DISTRICT COURT
14                FOR THE EASTERN DISTRICT OF CALIFORNIA
15
     SYLVIA AHN, as daughter and
16
     on behalf of the Estate of
17   Choung Woong Ahn,
18
           Plaintiff,                           Case No. 1:22-cv-00586-JLT-
19                                              BAK (SAB)
20         v.
21   GEO GROUP, INC.; UNITED STATES
22   IMMIGRATION & CUSTOMS                      FIRST AMENDED
     ENFORCEMENT; and the CITY OF               COMPLAINT
23
     MCFARLAND,
24
25          Defendants.
26
27
28   *pro hac vice
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 1                                     Introduction
 2     1. This is a survival, wrongful death, and disability discrimination action for
 3        compensatory and punitive damages arising out of the torture and
 4        preventable death by suicide of Choung Woong Ahn inside a solitary
 5        confinement cell at the Mesa Verde ICE Processing Facility (“Mesa
 6        Verde”).
 7                                         Parties
 8     2. Plaintiff Sylvia Ahn (“Plaintiff”) is the natural and legal daughter of the
 9        decedent, Choung Woong Ahn (“Mr. Ahn”), and an adult resident of
10        Houston, Texas. Plaintiff is the Successor-in-Interest of the Estate of
11        Choung Woong Ahn Plaintiff brings this action Individually and on behalf
12        of the estate of Choung Woong Ahn.
13     3. Decedent Choung Woong Ahn died while incarcerated at Mesa Verde in
14        Bakersfield, CA on May 17, 2020. Prior to his imprisonment Choung
15        Woong Ahn was a resident of Oakland, California.
16     4. At all times relevant to the Complaint, Defendant GEO Group, Inc. or
17        (“GEO group”) is and was a Florida corporation with its principal street
18        address located at 4955 Technology Way, Boca Raton, FL 33431.
19     5. At all times relevant to the complaint Defendant GEO Group owned and
20        operated Mesa Verde in Bakersfield, CA pursuant to a contractual
21        arrangement with government parties including, at times, the City of
22        McFarland and U.S. Immigration and Customs Enforcement (“ICE”).
23     6. Defendant United States Immigration and Customs Enforcement (“ICE”) is
24        a federal law enforcement agency within the Department of Homeland
25        Security (“DHS”). ICE is responsible for the administrative enforcement of
26        immigration laws, including the detention and removal of immigrants.
27        Enforcement and Removal Operations (“ERO”), a division of ICE, manages
28        and oversees the immigration detention system.

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 1                                     Jurisdiction and Venue
 2        7. This Court has subject matter jurisdiction over Plaintiff’s claims under
 3           Section 504 of the Rehabilitation Act and the Alien Tort Statute (“ATS”)
 4           pursuant to U.S.C § 1331 (federal question jurisdiction).
 5        8. Venue is proper in this District under 28 U.S.C. § 1391(b). A substantial part
 6           of the events or omissions giving rise to the claims occurred in the Eastern
 7           District of California.
 8        9. This Court has personal jurisdiction over GEO Group because the
 9           corporation regularly conducts business in California and has sufficient
10           minimum contacts with California.
11        10.Plaintiff requests that this Court exercise supplemental jurisdiction over her
12           California state law claims pursuant to 28 U.S.C. §1367.
13                                      Factual Allegations
14   I.           Mr. Ahn’s Detention and Death
15        11. This case arises out of the torture and preventable death by suicide of Mr.
16           Ahn, a longtime US resident who was 74 years old at the time of his death.
17        12.Mr. Ahn was born in South Korea and entered the United States in 1988 as a
18           Lawful Permanent Resident (“LPR”). He lived in the San Francisco Bay
19           Area until the time of his arrest and detention, maintaining LPR status for
20           over three decades, until his death.
21        13.He was confined to state prison for years. During this time Mr. Ahn
22           developed severe depression and other mental health conditions and
23           attempted suicide at least three times in 2014, 2015, and 2019.
24        14.Although the State of California determined that Mr. Ahn should be released
25           to live in the community and granted his early release from prison on parole,
26           or about February 21, 2020, ICE ERO arrested Mr. Ahn at the Solano State
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 1          Prison in Vacaville, California, taking him into their civil custody. They then
 2          transported Mr. Ahn to Mesa Verde. 1
 3       15.Mesa Verde is a federal immigration detention facility operated by
 4          Defendant GEO Group through contractual agreement.
 5       16.Mesa Verde has been the subject of numerous pieces of litigation and federal
 6          investigations concerning the substandard medical and mental health
 7          treatment provided at the facility. 2
 8       17.Upon Mr. Ahn’s detention at Mesa Verde, he was only offered a cursory
 9          mental health screening and his records were not examined to determine the
10          extent of his mental illnesses or identify past suicidal ideation and past
11          suicide attempts.
12       18.As Mr. Ahn remained at Mesa Verde, staff soon realized what would have
13          been apparent from his records: that Mr. Ahn was severely depressed,
14          experienced regular suicidal ideation, and had attempted suicide three times
15          in detention settings.
16       19.On March 12, 2020, Mr. Ahn reported experiencing shortness of breath and
17          chest pain, and was admitted to the emergency department of Mercy
18          Hospital in Bakersfield, California. He received emergency surgery to
19          remove a mass on his lung.
20
21
     1
22     Other courts have noted the lack of foundation undergirding current immigration detention
     practices: “…it would appear we are spending millions of our national treasure to lock up
23   thousands of people who might better be released on strict bail conditions without impairing the
     safety of our citizens or the operations of our government.” Savino v. Souza, 459 F. Supp. 3d
24
     317, 322 (D. Mass. 2020).
     2
25     “Indeed, the documentary evidence shows that the defendants have avoided widespread testing
     of staff and detainees at the facility, not for lack of tests, but for fear that positive test results
26   would require them to implement safety measures that they apparently felt were not worth the
27   trouble. This conduct by the defendants has put the detainees at serious risk of irreparable harm.
     The defendants have also jeopardized the safety of their own employees. And they have
28   endangered the community at large.” Zepeda Rivas v. Jennings, Case No. 20-cv-02731-VC, ECF
     500 at p. 1 (N.D. Cal. Aug. 6, 2020).

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 1       20.At the time Mr. Ahn was distressed and despondent, believing that he had
 2          been diagnosed with lung cancer.
 3       21.The hospital requested that Mr. Ahn return shortly for follow up care and to
 4          confirm the biopsy results. But ICE delayed authorizing and scheduling the
 5          appointment for months.
 6       22.Mr. Ahn never received the follow up treatment or biopsy results.
 7       23.On April 10, Mr. Ahn joined a peaceful hunger strike occurring in his
 8          dormitory and began refusing meals to protest the conditions at Mesa Verde.
 9       24.In April 2020 during a mental health appointment, Mr. Ahn reported to a
10          psychologist employed by Defendant GEO Group that he had feelings of
11          sadness and low energy, as well as trouble sleeping. The psychologist
12          concluded that Mr. Ahn had an unspecified depressive disorder and referred
13          him to a psychiatrist.
14       25.Later that same month, Mr. Ahn informed Mesa Verde medical staff that he
15          had attempted suicide at least three different times in custody in 2014, 2015,
16          and 2019.
17       26.On April 30, 2020, Mr. Ahn reported to mental health staff in a “talk
18          therapy” session that his depression was “6-7/10 (10 being the worst).” He
19          expressed feelings of anxiety and not “want[ing] to live in this life.”
20       27.Mr. Ahn continued to become more distressed and despondent because of
21          the conditions inside Mesa Verde, and in particular, their now well-
22          documented dangerous mishandling of the COVID-19 pandemic. 3
23
     3
      See, e.g., Joint Statement by the detained people at Mesa Verde (Aug. 6, 2020),
24
     https://www.centrolegal.org/wp-content/uploads/2020/08/MV-COVID-19-Outbreak-
25   Statement.pdf (Mesa Verde detainees reporting that as of early August 2020, “new people
     continued to arrive in our dorms, straight from prisons with massive COVID-19 outbreaks,
26   without being quarantined or even tested for the virus”); Zepeda Rivas v. Jennings, No. 20-cv-
27   02731-VC, 2020 WL 3055449 at *4 (N.D. Cal. June 9, 2020) (ordering ICE to close intake at
     Mesa Verde and commenting that ICE’s conduct “since the pandemic began ha[s] shown beyond
28   doubt that ICE cannot currently be trusted to prevent constitutional violations at [Mesa Verde]
     without judicial intervention.” and further finding that ICE did not regularly quarantine or test

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 1      28.Mr. Ahn submitted at least three requests for release through his lawyers, all
 2          of which were denied.
 3      29. On May 11, 2020, Mr. Ahn wept and then fell into a despondent silence
 4          upon learning that his latest release request had been denied, commenting to
 5          others that he would never get out of detention.
 6      30.On May 12, 2020, Mr. Ahn was admitted to Mercy Hospital in Bakersfield
 7          due to chest pain.
 8      31.Throughout his detention at Mesa Verde, Mr. Ahn made several medical
 9          requests due to persistent pain in his feet, his shoulder, and his chest.
10      32.Further, his diabetes and high blood pressure medication were not refilled in
11          a timely manner, and he made several complaints regarding this lack of
12          proper treatment.
13      33.On the day Mr. Ahn was hospitalized, he was struggling to breathe,
14          complaining of chest pain, and had liquid coming out of his nose.
15      34.Mr. Ahn returned to Mesa Verde on May 14, 2020, after receiving a
16          negative COVID-19 test.
17      35.Despite this, Mr. Ahn was placed in a solitary isolation unit upon his return
18          with no legitimate purpose identified for this isolation.
19      36.Despite Mr. Ahn’s current mental state, diagnosed depression, and past
20          suicide attempts, he was placed in a solitary cell, with a “tie off point” and
21          bed sheet, and with no human contact.
22      37.The availability of a tie off point and bed sheet or other rope-like device are
23          high risk factors for the effectuation of a suicide attempt when paired with
24          the mental health diagnosis and suicide history of Mr. Ahn.
25
26
27   detainees transferred from COVID-19-infected prisons upon intake at Mesa Verde, but rather
     brought them directly into dormitories); Zepeda Rivas v. Jennings, No. 20-CV-02731-VC, 2020
28   WL 4554646, at *1 (N.D. Cal. Aug. 6, 2020) (ordering ICE to stop incoming transfers to Mesa
     Verde).

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 1     38.Even if GEO Group’s staff had a credible suspicion that Mr. Ahn had
 2        contracted COVID, his placement in solitary confinement would have been
 3        unwarranted and dangerous, particularly for someone with Mr. Ahn’s
 4        document mental health conditions and suicidality. At the time, public health
 5        experts warned that ICE’s “practice . . . of locking people in conditions . . .
 6        [is] equivalent to punitive solitary confinement . . . as a form of ‘quarantine’
 7        or ‘medical isolation’” in response to the COVID-19 pandemic, as it
 8        subjected detained people to “significant risk of grave harm (including harm
 9        that may be permanent, even fatal).” Citing “widely accepted” scientific
10        consensus, experts explained that “ICE detainees with pre-existing mental
11        illness or emotional impairment are especially at risk”; when “placed in
12        conditions that are the equivalent of solitary confinement” they are
13        “especially likely to suffer an exacerbation of their psychiatric disability,”
14        rendering them “even more medically and psychologically vulnerable.”
15     39.Experts concluded that solitary confinement is by design an “inappropriate,
16        ill-conceived, and counter-productive” tool for quarantine. Among other
17        things, detainees held in solitary often lack access to adequate medical care
18        and hygiene supplies “even more acute[ly]” than in the general population,
19        surfaces may be unsanitary, and without the use of negative pressure rooms,
20        the virus can still easily spread through airborne transmission. As such, this
21        practice “very likely exacerbate[s] rather than limit[s] or alleviate[s] the
22        spread of COVID-19” in ICE facilities. Medical professionals have further
23        highlighted Mr. Ahn’s case as illustrating how “preemptive lockdowns” in a
24        “solitary confinement” setting, marked by “extreme isolation and stark
25        conditions,” pose “grave dangers to [detained persons’] mental and physical
26        health” and threaten “needless suffering and loss of life.”
27     40.Further undercutting any legitimacy behind GEO’s isolation of Mr. Ahn was
28        the practice of ICE and GEO at the time of regularly accepting incoming

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 1        transfers from California prisons with confirmed outbreaks of COVID-19,
 2        directly into the dormitories at Mesa Verde, without universally quarantining
 3        or regularly testing them.
 4     41.This practice continued for months after Mr. Ahn’s death, until a federal
 5        court ordered them to stop, finding that their inadequate testing and
 6        quarantine protocols likely violated the Fifth Amendment rights of all
 7        detainees.
 8     42.After being placed in solitary, Mr. Ahn informed the psychologist that he
 9        had feelings of depression.
10     43.Nevertheless, staff held him there and never even considered any alternative
11        housing placement that would have accommodated Mr. Ahn’s mental state.
12     44.At this point, because of his isolation, Mr. Ahn began expressing his suicidal
13        ideation to people beyond medical staff, including his brother, Young Ahn.
14     45.On May 16, 2020, a clinical psychologist subcontracted by GEO Group
15        reported that Mr. Ahn appeared to be at “high suicidal risk if deported.”
16     46.On the morning of May 17, 2020, an attorney for Mr. Ahn emailed ICE,
17        requesting that they return him to his dormitory because isolation was
18        proving detrimental to his mental health.
19     47.Also on May 17, 2020, a contracted Wellpath medical provider indicated
20        that Mr. Ahn’s mental illness was “severe” and again stated that Mr. Ahn
21        was at “high risk of suicide if deported.”
22     48.At that point, along with his extreme isolation, Mr. Ahn faced the imminent
23        threat of deportation. His next scheduled hearing in his removal proceedings
24        was May 19, 2020, and he remained uncounseled in his removal
25        proceedings.
26     49.Despite the deteriorating and well documented state of Mr. Ahn’s mental
27        state, and despite internal procedures to the contrary, on the evening of
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 1            Sunday, May 17, 2020, Mr. Ahn was left unobserved in the isolation cell
 2            with access to bed sheets and a tie off point.
 3         50.During the period when he was unobserved, Mr. Ahn died by hanging
 4            himself with a bedsheet.
 5         51.On that day, Sylvia Ahn permanently lost her father.
 6   II.           Applicable Standards and Protocols
 7         52. GEO Group and ICE are subject to Performance-Based National Detention
 8            Standards 2011 (PBNDS 2011), which impose standards and protocols for,
 9            inter alia, detainees at risk of suicide and detainees with disabilities.
10         53.Under those standards, Defendants ICE and GEO Group are required to
11            identify detainees with a risk of suicide or self-harm in an initial screening,
12            to be conducted within 12 hours of admission. 2011 PBNDS 4.6 Significant
13            Self Harm and Suicide Prevention and Intervention.
14         54.Defendants also much remain vigilant in recognizing and reporting detainees
15            who show a risk of suicide or self-harm any time after admission.
16         55.Once a detainee is identified as at-risk of suicide or self-harm, Defendants
17            must refer the detainee for an evaluation by a mental health provider within
18            24 hours.
19         56.In between the identification and evaluation, Defendants must place the
20            detainee in a secure environment with one-to-one visual observation.
21         57.A qualified mental health professional must conduct the evaluation. The
22            professional must determine the level of risk, level of supervision needed, a
23            treatment plan, and the potential need for transfer to an inpatient mental
24            health facility. The professional’s evaluation must rely, among other things,
25            upon the detainee’s relevant history, diagnoses, and environmental factors.
26         58.The professional may place the detainee in a special isolation room designed
27            for evaluation and treatment with continuous monitoring that must be
28            documented every 15 minutes or more frequently if necessary. The isolation

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 1        room must be suicide-resistant, including that it be free from any features
 2        that could facilitate a suicide attempt.
 3     59.If there is no special isolation room available, then the suicidal detainee may
 4        be temporarily placed in a special management unit. While in that unit, the
 5        detainee shall have access to all programs and services that are available to
 6        the general population, to the maximum extent possible. Detainees on
 7        suicide precautions who have not been placed in a special isolation room
 8        should receive documented close observations at least every 15 minutes.
 9     60.The protocols also impose training obligations. Defendants must provide all
10        facility staff members who interact with and/or are responsible for detainees
11        with comprehensive training initially during orientation and repeated at least
12        annually, on effective methods for identifying significant self-harm, as well
13        as suicide prevention and intervention with detainees. Initial training should
14        consist of at least eight hours of instruction, and subsequent annual trainings
15        should be a minimum of two hours.
16     61.PBNDS 2011 also details protocols for detainees with disabilities. 2011
17        PBNDS 4.8.
18     62.A detainee is disabled if they have a physical or mental impairment that
19        substantially limits a major life activity, or if they have a record of such an
20        impairment.
21     63.To identify a detainee with a disability, Defendants shall consider
22        information submitted by a third party, including an attorney, family
23        member, or other detainee in order to identify detainees with disabilities.
24     64.Defendants are also required to identify detainees whose impairments are
25        “open, obvious, and apparent.” This kind of identification may occur
26        through medical or intake screenings, or direct observation.
27     65.Upon identifying a detainee with a disability, the facility must review the
28        detainee for necessary accommodations.

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 1     66.If the detainee’s disability accommodations are “complex or best addressed
 2        by staff from more than one discipline (e.g., security, programming,
 3        medical, or mental health, etc.),” then the accommodation should be
 4        reviewed by a multidisciplinary team.
 5     67.Defendants may deny accommodations to a detainee only if the detainee can
 6        access the facility’s programs, services, or activities without them; there is
 7        no relationship between the disability and the accommodation; the
 8        accommodation would fundamentally alter the program or impose an undue
 9        burden; or the detainee poses a direct threat to staff or other detainees.
10     68.As with self-harm and suicide, PBNDS 2011 imposes obligations on
11        Defendants to train their staff on these requirements. Staff must receive the
12        information during an orientation training, and then annually thereafter.
13                                 CLAIMS FOR RELIEF
14                         COUNT ONE: WRONGFUL DEATH
15                         Plaintiff against Defendant GEO Group
16     69.Plaintiff realleges and incorporates by reference all allegations in the
17        foregoing paragraphs.
18     70.“The elements of a wrongful death claim are: (1) a wrongful act or neglect
19        that (2) causes (3) the death of another person.” Estate of Vela v. County of
20        Monterey, 2018 WL 4076317, at *13 (N.D. Cal. 2018) (citing Cal. Civ. P.
21        Code § 377.60 and Norgart v. Upjohn Co., 21 Cal. 4th 383, 390 (1999)).
22     71.Wrongful acts include “any kind of tortious act.” Barrett v. Superior Court,
23        222 Cal. App. 3d 1176, 1191 (1990). Because detainees are helpless to
24        protect themselves while in the custody and control of an immigration
25        detention facility, GEO Group owes detainees a heightened duty of care.
26        See, Edison v. U.S., 822 F.3d 510, 521-22 (9th Cir. 2016).
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 1     72.Wrongful acts also include constitutional violations. See, e.g., Villarreal v.
 2        Cty. of Monterey, 254 F. Supp. 3d 1168, 1191 (N.D. Cal. 2017) (deliberate
 3        indifference to medical needs is a “wrongful act”).
 4     73.Here, Defendant GEO Group:
 5           a. Failed to identify Mr. Ahn as disabled or at-risk for suicide or self-
 6               harm during an initial screening. GEO Group staff failed, during that
 7               screening, to effectively inquire into Mr. Ahn’s relevant medical
 8               history and prior suicide attempts.
 9           b. Failed to identify Mr. Ahn as disabled or at-risk of suicide or self-
10               harm at any time after his initial screening, despite Mr. Ahn’s
11               repeated statements expressing feelings of depression, anxiety, low
12               energy, and possible suicidal ideation, including to GEO Group staff.
13           c. Failed to provide Mr. Ahn with a necessary mental health evaluation
14               or treatment.
15           d. Locked Mr. Ahn into a solitary confinement cell, despite the fact that
16               GEO Group staff knew that Mr. Ahn had mental illness, and that
17               isolating a person with mental illness causes their condition to
18               deteriorate and creates a substantial risk of self-harm or suicide.
19               Locking Mr. Ahn in solitary confinement also denied him a safe place
20               to sleep by reason of his disability, when he could have been housed
21               elsewhere.
22           e. Failed to inspect the cell for any implements that could facilitate self-
23               harm or suicide, and so left the cell with a bed sheet and tie-off point.
24           f. Failed to appropriately observe Mr. Ahn in accordance with the
25               observation needs and requirements for someone with Mr. Ahn’s
26               mental health conditions.
27     74.These acts and omissions constitute negligence, negligence per se, violations
28        of federal disability law, and violations of the U.S. Constitution.

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 1     75.The negligent acts and omissions were performed by GEO Group and its
 2        agents or employees who acted within the scope of their employment for
 3        GEO Group.
 4     76.It was reasonably foreseeable that these acts and omissions would place Mr.
 5        Ahn at substantial risk of self-harm or suicide, and these acts and omissions
 6        proximately caused Mr. Ahn’s death.
 7     77.Mr. Ahn’s death caused Sylvia Ahn to lose her father and resulted in pain
 8        and suffering from that loss.
 9     78.Because GEO Group’s negligence, negligence per se, and recklessness
10        proximately caused Mr. Ahn’s death, California law allows Plaintiff, his
11        daughter, to recover for the full value of Plaintiff’s life, and to seek punitive
12        damages in these circumstances, which present wanton, reckless, and
13        depraved actions by GEO Group, which will continue to claim the lives of
14        people locked inside its facilities in the absence of judicial opprobrium and
15        punishment by a jury.
16       COUNT TWO: DISABILITY DISCRIMINATION – VIOLATION OF
17                             THE REHABILITATION ACT
18                   Plaintiff against Defendants GEO Group and ICE
19     79.Plaintiff re-alleges and incorporates by reference all allegations in the
20        foregoing paragraphs.
21     80.Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, prohibits
22        discrimination on the basis of disability in (1) any program or activity
23        receiving federal financial assistance; or (2) under any program or
24        activity conducted by any Executive agency or the United States Postal
25        Service. 29 U.S.C. § 794.
26     81.Section 504 of the Rehabilitation Act requires covered parties to provide
27        “reasonable accommodations” to individuals with disabilities so they can
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 1           fully participate in benefits administered by these agencies. 29 U.S.C. §
 2           794(a).
 3     82.DHS regulations implementing the Rehabilitation Act mandate that “[n]o
 4           qualified individual with a disability in the United States, shall, by reason of
 5           his or her disability, be excluded from participation in, be denied benefits of,
 6           or otherwise be subjected to discrimination under any program or activity
 7           conducted by the Department.” 6 C.F.R. § 15.30; see also 29 U.S.C. §
 8           794(a).
 9     83.The regulations implementing Section 504 prohibit entities receiving federal
10           financial assistance from utilizing “criteria or methods of administration (i)
11           that have the effect of subjecting qualified handicapped persons to
12           discrimination on the basis of handicap, (ii) that have the purpose or effect
13           of defeating or substantially impairing the accomplishment of the objectives
14           of the recipient’s program or activity with respect to handicapped persons.”
15           34 C.F.R. § 104.4(b)(4).
16     84.The removal proceedings are a benefit or program administered by DHS and
17           Mr. Ahn was entitled to participate in the removal process. The services,
18           programs, and activities within the detention centers where DHS detained
19           Mr. Ahn receive substantial federal financial assistance.
20     85.ICE is a component agency of the DHS, which is an Executive agency. See 6
21           C.F.R. § 15.1.
22     86.GEO Group operates a program or activity at Mesa Verde by contract with
23           and for ICE and it receives federal financial assistance for this operation.
24     87.
25     88.GEO Group’s federal financial assistance also includes subsidies that the
26           corporation receives in connection with its Voluntary Work Program for
27           federal immigration detainees housed at GEO Group facilities, though
28           which: (a) the Unites States authorizes GEO Group to use detainees to

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 1        perform essential work at wages far, far below market rates, work that GEO
 2        Group would otherwise be required to carry out with additional staff hired
 3        from the community at market rates, thus providing GEO Group with a
 4        significant financial benefit; and (b) the Unites States provides GEO Group a
 5        stipend of $1 per day for each detainee who participates in the Voluntary
 6        Wok Program. See 8 U.S.C. § 1555(d); 2011 Performance-Based National
 7        Detention Standards, Section 5.8, Voluntary Work Program, available
 8        online: https://www.ice.gov/doclib/detention-standards/2011/5-8.pdf (Last
 9        accessed June 17, 2022).
10     89. Additionally, GEO Group’s federal financial assistance includes subsidies
11        that the corporation receives in connection with revenues obtained through
12        commissary. In its Intergovernmental Service Agreement with GEO Group
13        to operate Mesa Verde, ICE authorizes GEO Group to use the excess
14        revenues from detainees’ purchases of commissary items to offset staff
15        salaries that GEO Group would have otherwise been required to pay in-full.
16     90. GEO Group also receives federal financial assistance by providing their
17        officers free staff meals prepared for by detainees through the food budget
18        allocated by ICE.
19     91.All operations in Mesa Verde are considered a “program, service, or
20        activity.” The Rehabilitation Act of 1973 defines a “program or activity” as
21        “all of the operations of . . . a department, agency, . . . or instrumentality of
22        a State or of a local government.” 29 U.S.C. § 794(b)(1(A) (emphasis
23        added). It also includes “all of the operations of . . . an entire corporation . . .
24        which is principally engaged in the business of providing education, health
25        care, housing, social services, or parks and recreation,” or “the entire plant
26        or other comparable, geographically separate facility to which Federal
27        financial assistance is extended, in the case of any other corporation.” 29
28        U.S.C. § 794(b)(3)(A) and (B) (emphasis added). This includes all

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 1        operations of an “entity which is established by two or more of the entities.”
 2        29 U.S.C. § 794(b)(4) (emphasis added).
 3     92.In its Component Self-Evaluation and Planning Reference Guide, DHS
 4        acknowledges that its “federal conducted programs” include “operation of
 5        immigration detention facilities.”
 6     93.The DHS document further states that “[a] Component’s activities carried
 7        out through contracts are considered conducted activities and are subject to
 8        the same obligation [of complying with the Rehabilitation Act].” Id. See also
 9        Instruction on Nondiscrimination for Individuals with Disabilities in DHS
10        Conducted Programs and Activities (Non-Employment), DHS Directives
11        System Instruction No. 065-01-001 (defining conducted activities of DHS to
12        include “those carried out through contractual or licensing arrangements”).
13     94.Additionally, Congress has required ICE to ensure contractors like GEO
14        Group fully implement the programmatic guarantees of the PBNDS 2011.
15     95.As administered by contractual agreement at Mesa Verde, the PBNDS
16        constitutes a federal program under the authority of 8 U.S.C. § 1103(a)(11)
17        that ensures access to services including safe sleeping facilities, telephone
18        calls, adequate medical, dental, and mental health care (including outside
19        care), recreation, commissary, law library, visitation, counsel, and
20        appropriate classification in civil immigration detention. Mr. Ahn was
21        entitled to all of the benefits administered by GEO and ICE administered
22        through PBNDS and their contract terms.
23     96.The removal proceedings are also benefit or program administered by DHS
24        and Mr. Ahn was entitled to participate in this removal process. The federal
25        benefit provided by GEO at Mesa Verde includes ensuring detained
26        immigrants like Mr. Ahn have meaningful access to and participation in the
27        adjudication of the charges justifying his detention at Mesa Verde,
28        determination of his eligibility for release from custody pending resolution

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 1        of those charges, and adjudication of his claims for relief in removal
 2        proceedings conducted by the Department of Justice’s Executive Office for
 3        Immigration Review. See generally 8 U.S.C. §§ 1229 (setting forth rights of
 4        noncitizens against who the government initiates removal proceedings),
 5        1229a(b)(4), 1229a(c)(2)(B), 1229a(c)(4).
 6     97.Mr. Ahn was an individual with a disability. He had diabetes and heart
 7        disease, serious illnesses that put patients at a high risk of serious injury or
 8        death from COVID-19. He also had depression and a history of suicide
 9        attempts. Both conditions qualify as disabilities for purposes of the
10        Rehabilitation Act. 29 U.S.C. §705(2)(B); 42 U.S.C. § 12102.
11     98.In February 2020, ICE through its ERO took custody of Mr. Ahn and
12        transported him to Mesa Verde. GEO Group then took custody of Mr. Ahn.
13        Despite binding, non-discretionary corporate and contractual policies
14        regarding identification of individuals with serious mental illness or other
15        special vulnerabilities upon a person’s admission to Mesa Verde, GEO
16        Group facility administrators only conducted only a cursory interview of Mr.
17        Ahn and failed to initially identify Mr. Ahn’s serious mental health issues.
18     99.GEO Group and ICE discriminated against Mr. Ahn because of his disability
19        in myriad interconnected ways:
20           a. First, by exposing Mr. Ahn to a heightened risk of contracting COVID-
21              19, ICE prevented Mr. Ahn from participating in the removal process
22              by reason of his disability. By failing to take account of his special
23              vulnerability to severe illness or death if he were to contract COVID-
24              19, ICE prevented Mr. Ahn from participating in the removal process
25              by reason of his disability.
26           b. By failing to provide Mr. Ahn adequate protection from COVID-19
27              through the only effective means to reduce the risk of severe illness or
28              death, release, ICE had the purpose or effect of defeating or

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 1              substantially impairing the accomplishment of the objectives of
 2              removal proceedings and the services, programs, and activities within
 3              the detention centers with respect to Mr. Ahn.
 4           c. Defendants also prevented Mr. Ahn from accessing basic services such
 5              as a safe living space, toilets, recreation, timely medica care or other
 6              programming without risk of death from heightened exposure to
 7              COVID. Mr. Ahn requested an accommodation of his disabilities
 8              repeatedly when he made requests for release and all of those requests
 9              for accommodation were denied.
10           d. Second, GEO Group discriminated against Mr. Ahn when it placed him
11              in an isolation cell despite his mental health conditions. GEO Group
12              failed to provide Mr. Ahn with the service or benefit of a safe living
13              space without tie-off points, taking account his well-documented
14              history with suicidal ideation. While isolated, GEO prevented Mr.
15              Ahn from accessing their programs, services, or activities, including
16              the removal process, by taking actions that foreseeably would lead to
17              Mr. Ahn’s death because of his disability.
18           e. GEO Group failed to provide Mr. Ahn the reasonable accommodation
19              of a room that was regularly observed and devoid of implement with
20              which one could affect a suicide attempt.
21           f. GEO Group failed to provide him with appropriate mental health
22              services or accommodations, despite Mr. Ahn’s long history with
23              depression and suicidal thoughts. As such, he was not given equal
24              access to the removal proceedings or programming as individuals
25              without disabilities.
26           g. Further, GEO Group failed to consider the appropriateness of less-
27              restrictive alternatives to solitary confinement for individuals like Mr.
28              Ahn with serious mental illness. They failed to consider this even

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 1                 though there was no legitimate purpose behind isolating Mr. Ahn
 2                 initially (as he had a negative COVID-19 test). GEO Group’s policies
 3                 and ICE’s contract requires the facility administrator and
 4                 interdisciplinary staff to conduct regular, periodic review of people in
 5                 solitary confinement who suffer from mental health-related
 6                 disabilities, and to consider them for release to general population.
 7            h. GEO Group’s COVID and isolation policies and practices manifest
 8                 deliberate intentional discrimination and/or deliberate indifference to
 9                 the likelihood that detainees with serious mental health conditions
10                 would suffer illegal discrimination at Mesa Verde.
11            i. GEO Group further failed to ensure that its staff had appropriate
12                 training for responding to detained migrants, like Mr. Ahn, who
13                 suffered from depression and suicidality.
14     100.     ICE’s and GEO Group’s disability discrimination in violation of the
15        Rehabilitation Act caused Mr. Ahn’s emotional distress, deterioration and
16        death.
17     101.     Plaintiff brings this claim Individually and as Successor-in-Interest.
18       COUNT THREE: VIOLATION OF THE LAW OF NATIONS UNDER
19     THE ALIEN TORT STATUTE FOR TORTURE & CRUEL, INHUMANE
20                            AND DEGRADING TREATMENT
21                           Plaintiff against Defendant GEO Group
22     102.        Plaintiff re-alleges and incorporates by reference all allegations in the
23        foregoing paragraphs.
24     103.        The Alien Tort Statute (“ATS”), enacted in 1789, permits non-citizens
25        to bring suit in U.S. courts for violations of the law of nations or a treaty of
26        the United States. Under the ATS, federal courts are authorized to recognize
27        a common-law cause of action for violations of clearly defined, widely
28        accepted human rights norms.

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 1     104.     The United States has signed and ratified with reservations,
 2        understanding, and declarations (“RUDs”) binding treaties banning
 3        punishment of prolonged solitary confinement and solitary confinement of
 4        persons with mental illness for any period because it constitutes cruel,
 5        inhuman and degrading treatment (“CIDT”) and torture.
 6     105.     The Convention Against Torture and Other Cruel Inhuman and
 7        Degrading Treatment (“CAT”) constitutes a clearly defined, widely accepted
 8        human rights treaty obligation that the United States has signed and ratified
 9        (with RUDs), ratified October 21, 1994, 1465 U.N.T.S. 85 (entered into
10        force June 26, 1987).
11     106.     The United States, as a state party to the CAT, has implemented its
12        obligations in domestic law. See, e.g., 8 C.F.R. § 208.18.
13     107.     Articles 1(1) and 16(1) of the CAT define torture and require the
14        United States to prevent it and CIDT within its jurisdiction.
15     108.     The United States has adopted with RUDs the International Covenant
16        on Civil and Political Rights (“ICCPR”). International Covenant on Civil
17        and Political Rights art. 7, ratified June 8, 1992, 999 U.N.T.S. 171 (entered
18        into force March 23, 1976)
19     109.     Art. 7 of the ICCPR states: “No one shall be subjected to torture or
20        [CIDT] or punishment . . . .”, and Art. 4(2) establishes this as a non-
21        derogable peremptory norm.
22     110.     The U.N. Special Rapporteur on Torture and Other CIDT has stated
23        that the “imposition, of solitary confinement of any duration, on persons
24        with mental disabilities is cruel, inhuman or degrading treatment. (A/66/268,
25        paras. 67-68, 78).
26     111.     Moreover, any restraint on people with mental disabilities for even a
27        short period of time may constitute torture and ill-treatment.” Special
28        Rapporteur on Torture and Other [CIDT], Report of the Special Rapporteur

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 1        on torture and other cruel, inhumane or degrading treatment or punishment,
 2        ¶ 63, U.N. Doc. A/HRC/22/53 (Feb. 1, 2013) Juan Mendez.
 3     112.     Defendant’s conduct described herein constitutes torture and cruel,
 4        inhuman, and degrading treatment, a violation of “specific, universal, and
 5        obligatory” international law norms, as evidenced by numerous binding
 6        international treaties, declarations, and other international law instruments.
 7        Accordingly, Defendant’s conduct is actionable under the ATS.
 8     113.     GEO Group tortured Mr. Ahn to death and subjected him to CIDT by
 9        intentionally inflicting severe physical and mental pain and suffering upon
10        him for no facially legitimate purpose.
11     114.     Specifically, GEO Group supervisors ordered Mr. Ahn’s placement in
12        solitary confinement for medical quarantine despite a negative COVID-19
13        test and no legitimate or consistent justification for such confinement.
14     115.     GEO Group did this despite being specifically aware of Mr. Ahn’s
15        diagnosis of unspecified depression and his, at least, three prior suicide
16        attempts. They also placed him in solitary confinement despite having
17        recently identified his mental illness as “severe”.
18     116.     GEO Group personnel knew that time in solitary confinement,
19        particularly for someone in Mr. Ahn’s condition, would inflict severe
20        psychological pain and put Mr. Ahn at an acute risk of suicide.
21     117.     Indeed, as a matter of corporate policy, every GEO Group detention
22        officer at Mesa Verde is required to receive suicide prevention training that
23        specifically warns of the acute risks of solitary confinement for people with
24        past histories of suicidal ideation, involuntary commitment, or diagnoses like
25        the one conferred on Mr. Ahn by the GEO’s own physicians.
26     118.     Painfully aware of the specific form of acute suffering and harm
27        segregation would inflict on a detained person with depression, suicidal
28


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 1        ideation and past suicide attempts, GEO intentionally condemned Mr. Ahn
 2        to the acute psychological, emotional, and physical pain and suffering.
 3     119.      GEO Group’s torture and CIDT of Mr. Ahn caused his death.
 4     120.      Additionally, GEO Group provided Mr. Ahn the means and
 5        opportunity to effectuate his suicide by refraining from observing Mr. Ahn
 6        during the period when he died and placing Mr. Ahn in a solitary
 7        confinement cell with bed sheets and a tie off point – well known risks
 8        points for suicide.
 9     121.      GEO Group’s acts and omissions were deliberate, willful, intentional,
10        wanton, malicious, oppressive, and in conscious disregard for Mr. Ahn’s
11        rights under international and U.S. law and should be punished by an award
12        of punitive damages in an amount to be determined at trial.
13     122.      No absolute or qualified immunity exists to shield GEO group from
14        liability.
15     123.     Plaintiff brings this claim Individually and as Successor-in-Interest.
16            COUNT FOUR: NEGLIGENCE OR NEGLIGENCE PER SE
17                         Plaintiff against Defendant GEO Group
18     124.      Plaintiff realleges and reincorporates Plaintiff re-alleges and
19        incorporates by reference all allegations in the foregoing paragraphs.
20     125.     “The elements of a negligence claim under California law are duty,
21        breach, causation, and injury.” Stasi v. Inmediata Health Group Corp., 501
22        F.Supp.3d 898, 912 (S.D. Cal. 2020) (citing Vasilenko v. Grace Family
23        Church, 3 Cal. 5th 1077 (2017)).
24     126.     Because detainees are helpless to protect themselves while in the
25        custody and control of an immigration detention facility, GEO Group owes
26        detainees a heightened duty of care. See, Edison v. U.S., 822 F.3d 510, 521-
27        22 (9th Cir. 2016).
28     127.     Here, GEO Group:

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 1            a. Failed to identify Mr. Ahn as at-risk for suicide or self-harm during an
 2               initial screening, including because Defendant failed, during that
 3               screening, to effectively inquire into Mr. Ahn’s relevant medical
 4               history and prior suicide attempts.
 5            b. Failed to identify Mr. Ahn as at-risk of suicide or self-harm at any
 6               time after his initial screening, despite Mr. Ahn’s repeated statements
 7               expressing feelings of depression, anxiety, low energy, and possible
 8               suicidal ideation, including to GEO Group staff.
 9            c. Failed to provide Mr. Ahn with a mental health evaluation or
10               treatment.
11            d. Locked Mr. Ahn into a solitary confinement cell, despite the fact that
12               Mr. Ahn had mental illness, and isolating a person with mental illness
13               causes their condition to deteriorate and creates a substantial risk of
14               self-harm or suicide.
15            e. Failed to inspect the cell for any implements that could facilitate self-
16               harm or suicide, and so left the cell with a bed sheet and tie-off point.
17            f. Failed to appropriately observe Mr. Ahn in accordance with the
18               observation needs and requirements for someone with Mr. Ahn’s
19               mental health conditions.
20     128.     These acts and omissions constitute negligence and negligence per se.
21     129.     The negligent acts and omissions were performed by GEO Group and
22        its agents or employees who acted within the scope of their employment for
23        GEO Group.
24     130.     It was reasonably foreseeable that these acts and omissions would
25        place Mr. Ahn in emotional distress prior to his death and at substantial risk
26        of self-harm or suicide, and these acts and omissions proximately caused Mr.
27        Ahn’s death.
28


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 1     131.     Plaintiff brings this claim Individually and as Successor-in-Interest as
 2        defined in Section 377.11 of the California Code of Civil Procedure and
 3        seeks survival damages for the violation of Decedent’s rights.
 4            COUNT FIVE: INTENTIONAL INFLICTION OF EMOTIONAL
 5                                         DISTRESS
 6                         Plaintiff against Defendant GEO Group
 7     132.      Plaintiff re-alleges and incorporates by reference all allegations in the
 8        foregoing paragraphs.
 9     133.      Intentional infliction of emotional distress encompasses “(1) extreme
10        and outrageous conduct by the defendant with the intention of causing, or
11        reckless disregard of the probability of causing, emotional distress; (2) the
12        plaintiff's suffering severe or extreme emotional distress; (3) and actual and
13        proximate causation of the emotional distress by the defendant's outrageous
14        conduct.” Pardi v. Kaiser Foundation Hospitals, 389 F.3d 840, 852 (9th Cir.
15        2004) (quoting Cervantez v. J.C. Penney Co., 24 Cal.3d 579, 593 (1979))
16        (internal quotations omitted).
17     134.      GEO Group staff committed extreme and outrageous conduct against
18        Mr. Ahn when they, despite being aware of his mental health condition,
19        placed him in an isolation cell that they knew, or should have known, would
20        exacerbate his condition.
21     135.      This conduct was further extreme and outrageous because it was done
22        with full knowledge of at least three past suicide attempts and because the
23        isolation cell into which GEO Group staff placed Mr. Ahn was furnished
24        with implements with which one could die by suicide.
25     136.      GEO Group additionally committed extreme and outrageous conduct
26        when they failed to observe Mr. Ahn as required in the isolation cell.
27     137.      Because of Mr. Ahn’s mental health condition, his repeated
28        descriptions of his suicidality, and his past suicide attempts, placing Mr. Ahn

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 1        in an isolation cell recklessly disregarded the high probability that such
 2        placement would cause Mr. Ahn extreme emotional distress.
 3     138.      It did just that and Mr. Ahn began to emotionally deteriorate as a
 4        result of his placement in isolation. As such, GEO Group’s actions were the
 5        proximate cause of his emotional distress.
 6     139.      Despite this, at no point did GEO Group release Mr. Ahn from
 7        isolation and he continued to suffer increasing levels of severe emotional
 8        distress.
 9     140.      This distress culminated when Mr. Ahn died by suicide in GEO
10        Group’s isolation cell, unobserved by any GEO staff.
11     141.    Plaintiff brings this claim Individually and as Successor-in-Interest.
12            COUNT SIX: NEGLIGENT TRAINING, SUPERVISION, AND
13                                       RETENTION
14                         Plaintiff against Defendant GEO Group
15     142.      Plaintiff re-alleges and incorporates by reference all allegations in the
16        foregoing paragraphs.
17     143.      An employer is negligent if they fail to adequately train their
18        employees as to the performance of their job duties, and as a result of such
19        negligent instruction, employees while carrying out their job duties caused
20        injury or damage to the plaintiff. See State Farm Fire & Casualty Co. v.
21        Keenan, 171 Cal.App.3d 1, 23, 216 Cal. Rptr. 318 (1985).
22     144.      PBNDS 2011 require Defendant GEO Group to provide all facility
23        staff members who interact with and/or are responsible for detainees with
24        comprehensive training initially during orientation and repeated at least
25        annually, on effective methods for identifying significant self-harm, as well
26        as suicide prevention and intervention with detainees. Initial training should
27        consist of at least eight hours of instruction, and subsequent annual trainings
28        should be a minimum of two hours.

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 1     145.     PBNDS 2011 also require Defendant GEO Group to train staff as to
 2        detainees’ disability rights at an initial orientation, and then to refresh staff
 3        on the material annually thereafter.
 4     146.     Defendant GEO Group failed to adequately train its staff as required
 5        by PBNDS 2011.
 6     147.      In addition, Defendant GEO Group failed to adequately train its staff
 7        as to: 1) not placing people with mental health conditions in solitary; 2)
 8        proper COVID protocols including the lack of need to isolate someone who
 9        tested negative for COVID; 3) the need to remove implements from a
10        solitary cell that one could easily use to commit suicide; 4) the protocols for
11        consistent observation of people with depression and past suicide attempts.
12     148.     Those failures constituted negligence and negligence per se.
13     149.    It was reasonably foreseeable that these acts and omissions would
14        place Mr. Ahn at substantial risk of self-harm or suicide, and these acts and
15        omissions proximately caused Mr. Ahn’s death.
16     150.    Plaintiff brings this claim Individually and as Successor-in-Interest.
17        COUNT SEVEN: VIOLATIONS OF CAL. CIVIL CODE § 43, CAL.
18                              CIVIL CODE § 51 (UNRUH)
19                         Plaintiff against Defendant GEO Group
20     151.     Plaintiff re-alleges and incorporates by reference all allegations in the
21        foregoing paragraphs.
22     152.     The Unruh Act provides that “[a]ll persons within the jurisdiction of
23        [California] are free and equal, and no matter what their sex, race, color,
24        religion, ancestry, national origin, disability, or medical condition are
25        entitled to the full and equal accommodations, advantages, facilities,
26        privileges, or services in all business establishments of every kind
27        whatsoever.” Cal. Civ. Code § 51(b).
28


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 1     153.      Defendant GEO Group is a “business establishment” subject to the
 2        Unruh Act because Defendant is a for-profit business whose “overall
 3        function” is to “protect and enhance [its] economic value, O’Connor, 33 Cal.
 4        3d 790, 796 (1983), and whose “purpose [is] making a livelihood or gain,”
 5        Ibister, 40 Cal. 3d 72, 95 (1985). See also Est. of Silva v. City of San Diego,
 6        No. 3:18-CV-2282-L-MSB, 2020 WL 6946011, at *22 (S.D. Cal. Nov. 25,
 7        2020) (quoting O’Connor, 33 Cal. 3d at 796) (holding that private
 8        subcontractors who provided medical services inside county jails were
 9        properly subject to the Unruh Act); also Wilkins-Jones v. Cty. of Alameda,
10        859 F. Supp. 2d 1039, 1043 (N.D. Cal. 2012) (holding that a private medical
11        contractor is “qualitatively different from a correctional facility itself; while
12        the County’s operation of a jail may not be a business, [the private medical
13        contractor] is a business establishment operating for profit within a
14        correctional facility.”).
15     154.      A violation of an individual’s rights under the ADA constitutes a
16        violation of the Unruh Act. Cal. Civ. Code § 51(f).
17     155.      Title III of the ADA provides: “No individual shall be discriminated
18        against on the basis of disability in the full enjoyment of the goods, services,
19        facilities, privileges, advantages, or accommodations of any place of public
20        accommodation by any person who owns, leases (or leases to), or operates a
21        place of public accommodation.” 42 U.S.C. § 12182(a).
22     156.      Mr. Ahn is an individual with a disability because he suffered from
23        depression, anxiety, and other mental illnesses that substantially limited his
24        ability to perform major life activities, including sleeping, communicating
25        and regular socialization.
26     157.      Defendant GEO Group operates Mesa Verde, which is a public
27        accommodation. See 42 U.S.C.A. § 12181(7)(K) (listing “social service
28        center establishment[s]” as a kind of public accommodation); see also

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 1        Martin v. PGA Tour, Inc., 204 F.3d 994, 998 (9th Cir.2000) (Selectivity
 2        about who may enter or use the accommodation does not necessarily defeat
 3        its public character.)
 4     158.      Defendant GEO Group locked Mr. Ahn in an isolation cell,
 5        exacerbating his mental illness. This conduct denied Mr. Ahn access to a
 6        safe place to sleep, which is a program, service, or activity in a detention
 7        facility.
 8     159.      The denial constitutes discrimination against Mr. Ahn on the basis of
 9        his disability, because GEO Group failed to provide him with a reasonable
10        accommodation (e.g., a different housing assignment) when one was
11        necessary.
12     160.      Mr. Ahn suffered harm as a result of Defendant’s acts and omissions.
13        Specifically, Mr. Ahn suffered exacerbation of his mental illness and
14        ultimately his death.
15     161.     Plaintiff brings this claim Individually and as Successor-in-Interest.
16       COUNT EIGHT VIOLATIONS OF CAL. CIVIL CODE § 52.1 (BANE
17                                           ACT)
18                         Plaintiff against Defendant GEO Group
19     162.      Plaintiff re-alleges and incorporates by reference all allegations in the
20        foregoing paragraphs.
21     163.      The Bane Act creates a private right of action against any person
22        (whether or not acting under color of law) who interferes by threat,
23        intimidation, or coercion with the plaintiff’s enjoyment of rights created by
24        the U.S. constitution, federal laws, the California constitution, or California
25        state laws. Reese v. County of Sacramento, 888 F.3d 1030, 1040 (9th Cir.
26        2018).
27     164.      The Fifth Amendment guarantees civil detainees a right to adequate
28        medical care. See Gordon v. County of Orange, 888 F.3d 1118, 1125 (9th

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 1        Cir. 2018) (discussing the right in the context of the Fourteenth
 2        Amendment).
 3     165.     A civil detainee’s Fifth Amendment rights are violated where: “(i) the
 4        defendant made an intentional decision with respect to the conditions under
 5        which the plaintiff was confined; (ii) those conditions put the plaintiff at
 6        substantial risk of suffering serious harm; (iii) the defendant did not take
 7        reasonable available measures to abate that risk, even though a reasonable
 8        official in the circumstances would have appreciated the high degree of risk
 9        involved—making the consequences of the defendant's conduct obvious; and
10        (iv) by not taking such measures, the defendant caused the plaintiff's
11        injuries.” Gordan, 888 F.3d at 1125.
12     166.     Defendant GEO Group interfered with Mr. Ahn’s enjoyment of his
13        substantive due process rights under the Fifth Amendment of the U.S.
14        Constitution.
15     167.     (i) Defendant made an intentional decision to put Mr. Ahn in solitary
16        confinement on May 14th, 2020, when Mr. Ahn returned from the hospital.
17     168.     Placing Mr. Ahn in a solitary cell constitutes “coercion.” See Reese,
18        888 F.3d at 1040 (The “threat, intimidation or coercion” need not be
19        “transactionally independent from the constitutional violation alleged.”);
20        B.B. v. County of Los Angeles, 25 Cal. App. 5th 115, 130 (Cal. Ct. App.
21        2018), rev’d on other grounds, B.B. v. County of Los Angeles, 10 Cal. 5th 1
22        (Cal. 2020).
23     169.     (ii) Because Mr. Ahn was depressive, that decision placed him at
24        substantial risk of harm.
25     170.     (iii) Defendant GEO Group did not take reasonable measures to abate
26        that risk, because Defendant did not, among other things, transfer Mr. Ahn
27        out of isolation, to a mental health institution, or place him under one-to-one
28        supervision. In fact, Defendant did nothing at all.

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 1     171.     Defendant GEO Group knew or should have known that Mr. Ahn was
 2        depressive: Mr. Ahn reported symptoms of depression to a psychologist in
 3        April 2020, and also told the psychologist that he had attempted suicide at
 4        least three different times in custody in 2014, 2015, and 2016; GEO
 5        employees witnessed Mr. Ahn acting abnormally, including being strangely
 6        quiet and crying when his release request was denied; Mr. Ahn reported to a
 7        psychologist again after being placed in solitary confinement that he had
 8        feelings of depression; and on May 16, 2020, a Mesa Verde psychologist
 9        said that Mr. Ahn had a high risk of suicide if deported. Defendant GEO
10        Group also knew or should have known that solitary confinement was
11        dangerous to Plaintiff, because the risks and adverse consequences of
12        placing a person with mental illness in solitary confinement is well-
13        established. See, e.g., Civil Rights Education and Enforcement Center, et.
14        al., Complaint for violations of civil, constitutional, and disability rights of
15        Anderson Avisai Gutierrez (Mar. 13, 2020),
16        https://www.splcenter.org/sites/default/files/2020-03-
17        13_anderson_avisai_gutierrez_crcl_504_complaint_.pdf (describing cases of
18        detainees who died by suicide following improper placement in
19        segregation); U.S. Department of Homeland Security, Memorandum to
20        Matthew Albence from Veronica Venture regarding Adelanto Correctional
21        Facility Complaints (April 25, 2018),
22        https://www.dhs.gov/sites/default/files/publications/adelanto-expert-memo-
23        04-25-18.pdf at 5 (”Detainees with serious mental disorders should only be
24        housed in administrative segregation as a last resort, as that environment is
25        not conducive to improving mental health status”); Memorandum from Ellen
26        Gallagher, Senior Policy Advisor, DHS CRC. to Deputy Secretary
27        Mayorkas, DHS (July 23, 2014) at 3 (stating that placing individuals in ICE
28        custody who suffer from serious mental health conditions into segregated

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 1        settings is non-therapeutic and “imposes improper punitive conditions, and
 2        subjects vulnerable detainees to physical and mental deterioration”); Justin
 3        D. Strong et al., The body in isolation: The physical health impacts of
 4        incarceration in solitary confinement, PLOS ONE (Oct. 9, 2020),
 5        https://doi.org/10.1371/journal.pone.0238510 (explaining that “solitary
 6        confinement is associated not just with mental, but also with physical health
 7        problems” and “analyz[ing] a range of physical exacerbated by both
 8        restrictive conditions and policies.”). In other words, the consequences of
 9        Defendant’s acts and omissions were obvious.
10     172.     Defendant GEO Group also acted with “specific intent” to deprive
11        Mr. Ahn of his Fifth Amendment rights, because these acts and omissions
12        are also evidence of a “reckless disregard” if not a knowing interference, of
13        his rights. See Reese, 888 F.3d at 1043-45 (citing Cornell v. City and County
14        of San Francisco, 17 Cal. App. 5th 766, 801 (2017)).
15     173.     As a result of Defendant’s failure to take reasonable measures and
16        move Mr. Ahn out of solitary confinement, Mr. Ahn died by suicide. Mr.
17        Ahn’s depression was exacerbated by isolation and at the time that he
18        attempted self-harm he was not visible to other detainees or GEO employees
19        who could have intervened.
20     174.    Plaintiff brings this claim Individually and as Successor-in-Interest.
21                                  REQUEST FOR RELIEF
22     175.    Enter judgment in favor of Plaintiff and against Defendants.
23     176.    Enter an order declaring Defendants actions to be unlawful.
24     177.    Award Plaintiff compensatory and punitive damages in an amount to
25        be determined at trial.
26     178.    Award Plaintiff reasonable attorney’s fees and costs.
27     179.    Award any other relief this Court deems just, equitable, and proper.
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 3
                                                                  /s/ Trevor Kosmo
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